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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


FRANCINE ZYSK,
                                               Case No. 18-10639
      Plaintiff,
v.                                             Hon. Robert H. Cleland

THERESA M. BRENNAN, in her
individual and official capacities,
MIRIAM CAVANAUGH, in her
individual and official capacities,

      Defendants.


 FETT & FIELDS, P.C.                   SEWARD HENDERSON PLLC
 By: James K. Fett (P39461)            By: T. Joseph Seward (P35095)
 Attorneys for Plaintiff               Attorneys for Defendant, Brennan
 805 East Main                         210 East 3rd Street, Suite 212
 Pinckney, Michigan 48169              Royal Oak, Michigan 48067
 P: (734) 954-0100                     P: (248) 733-3580
 F: (734) 954-0762                     F: (248) 733-3633
 E: jim@fettlaw.com                    E: jseward@sewardhenderson.com

                                       KELLER THOMA, P.C.
                                       By: Thomas L. Fleury(P24064)
                                       Attorneys for Defendant, Cavanaugh
                                       26555 Evergreen Road, Suite 1240
                                       Southfield Michigan 48076-4251
                                       P: (313) 965-0857
                                       F: (313) 965-4480
                                       E: tlf@kellerthoma.com


        DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO
          DEFENDANT BRENNAN’S MOTION TO DISMISS
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                             ISSUES PRESENTED

   I.     Whether this Court should disregard the materials outside of the
          pleadings attached to Plaintiff’s response?

          Defendant states                   “Yes”

          Plaintiff presumably states        “No”

   II.    Whether Defendant is entitled to judicial immunity for the
          alleged acts in Plaintiff’s First Amendment retaliation claim?

          Defendant states                   “Yes”

          Plaintiff presumably states        “No”

   III.   Whether Defendant was acting under the “color of law” when
          she made remarks at a deposition?

          Defendant states                   “No”

          Plaintiff presumably states        “Yes”


   IV.    Whether Plaintiff failed to show she suffered an adverse action in
          her First Amendment retaliation claim?

          Defendant states                   “Yes”

          Plaintiff presumably states        “No”

   V.     Whether the absolute privilege of judicial proceedings applies
          to Plaintiff’s claim for defamation?

          Defendant states                   “Yes”

          Plaintiff presumably states        “No”

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   VI.    Whether Plaintiff failed to state a claim for defamation because
          Defendant did not publish to third parties outside of the
          deposition?

          Defendant states                    “Yes”

          Plaintiff presumably states         “No”

   VII.   Whether Defendant is entitled to governmental immunity for
          Plaintiff’s defamation claim?

          Defendant states                    “Yes”

          Plaintiff presumably states         “No”




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                   MOST CONTROLLING AUTHORTY

   • Fed. R. Civ. P. 12(b)(6)




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                          LAW AND ARGUMENT

      A.    Plaintiff’s Exhibits Must be Excluded from Consideration

      In her response, Plaintiff inappropriately relies upon multiple

depositions and a self-serving declaration. Generally, the Court may not

consider materials beyond the pleadings when ruling on a Rule 12(b)(6)

motion. Hammond v. Baldwin, 866 F.2d 172, 175 (6th Cir. 1989). However, the

Court may rely on written instruments attached to the complaint (see Fed.

R. Civ. P. 10(c)), documents a defendant attaches to a motion to dismiss if

referred to in plaintiff’s complaint and central to the claim, public records,

matters the Court may take judicial notice of, and letter decisions of

government agencies. Jackson v. City of Columbus, 194 F.3d 737, 745 (6th Cir.

1999). Clearly, the depositions, declaration by Plaintiff, and affidavit

attached to the declaration would not fall within these exceptions. Therefore,

the Court should disregard them.

      B.    Judicial Immunity Applies to Plaintiff’s Claims

      Plaintiff relies on Brookings v. Clunk, 389 F.3d 614, 616 (6th Cir. 2004) in

her response, a case in which the Sixth Circuit reversed the district court

ruling and found that the judge was entitled to judicial immunity. In that



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case, a judge had sworn a complaint against the plaintiff for lying on a

marriage license application. Id. at 616. The Sixth Circuit reinforced that,

when analyzing whether an act is judicial, the nature of the act is the

determining factor, not the act itself. Id. at 621. The Court recognized that

even if an act is not a function normally performed by a judge, it still is a

judicial act if it relates to general functions performed by a judge. Id. Thus,

even though swearing the complaint was not adjudicatory in nature or a

normal function of a judge, the general function of the conduct was to protect

the integrity of the court. Id. at 621-622.

      The same reasoning as Brookings applies to the alleged complaint to

SCAO. While Judge Brennan denies making a complaint about Plaintiff to

SCAO, if true, she was protecting the integrity of the Court. Defendant’s

position that her alleged comments from the bench were judicial acts is

validated by Harris v. Harvey, 605 F.2d 330, 335 (7th Cir. 1979), where the

Court affirmed judicial immunity for a judge executing an affidavit in a legal

proceeding while making derogatory comments about plaintiff. Here, the

alleged interaction at the judge’s            meeting involved handling a

disqualification in Defendant’s court. The nature of these acts is not

administrative    merely     because    Defendant   was   dealing    with   an
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 administrator. Defendant was not demoting or firing an employee as in

 Forrester v. White, 484 U.S. 219, 220 (1988), she was controlling her docket and

 how cases are handled in her court, which is “so inherently related to the

 essential functioning of the courts as to be traditionally regarded as judicial

 acts.” Sparks v. Character & Fitness Comm. of Kentucky, 859 F.2d 428, 434 (6th

 Cir. 1988)

      C. Defendant Was Not Acting Under Color of Law at the Deposition

       Plaintiff makes bare conclusions that Defendant acted under the color

 of law at the deposition of Plaintiff. At no time during the deposition did

 Defendant claim to act with her official authority as a judge or use the power

 of her office. Malina v. Gonzales, No. CIV. A. 90-4959, 1993 WL 534163, at *2

 (E.D. La. Dec. 15, 1993)(citing Monroe v. Pape, 365 U.S. 167, 172 (1961); Brown

 v. Miller, 631 F.2d 408, 411 (5th Cir. 1980)). This is inapposite of Malina, where

 the judge continually asserted in various situations that he had authority

 from the state for his actions.

       D.     The Alleged Acts Do Not Constitute Adverse Action

       In Benningfield v. City of Houston, 157 F.3d 369, 376 (5th Cir. 1998), the

 Court stated that adverse employment actions for First Amendment

 retaliation claims “are discharges, demotions, refusals to hire, refusals to

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 promote, and reprimands.” Further, some acts may not be actionable, even

 if they have a chilling effect on free speech. Id. (citing Pierce v. Texas

 Department of Crim. Justice, Inst. Div., 37 F.3d 1146, 1150 (5th Cir. 1994)). The

 Court held that the following were not sufficient to constitute adverse

 employment actions: being falsely accused of stealing records, investigation

 instituted (absent reprimand), being prevented from attending conferences

 (noting that the Court does not have the competency or resources to

 micromanage administration of thousands of state institutions, citing Dorsett

 v. Bd. of Trustees for St. Colleges & Univ. 940 F.2d 121, 123–24 (5th Cir. 1991)),

 inhibiting performance of duties by preventing others from speaking with

 them, transfer that merely changes hours, and verbal criticisms. Benningfield,

 157 F.3d at 376-377.

       In this case, the claimed adverse acts are: calling Plaintiff a liar at a

 deposition (verbal criticism), allegedly filing a complaint for misuse of work

 time to SCAO (with no reprimand resulting), criticizing her (of which she

 pleads no factual basis, just mere conclusions), and refusing to work with

 her. These acts are akin to those in Benningfield that were found not adverse.

 The standard for evaluating these actions is the objective standard set forth

 in Thaddeus-X v. Blatter, 175 F.3d 378, 398 (6th Cir. 1999), and the benefit of
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 an objective standard is that it screens out acts that are so de minimis that

 they do not rise to a constitutional violation. Even taken in gross, the alleged

 acts are truly inconsequential; plaintiff has not suffered an injury, and this

 case is easily distinguished from the adverse acts contained within Plaintiff’s

 cited authority.

       E.    Plaintiff’s Defamation Claims

       Plaintiff’s view is far too narrow in evaluating the scope of the judicial

 proceedings privilege, and erroneously construes Timmis v. Bennett, 352

 Mich. 355, 365, 89 N.W.2d 748, 753 (1958). In that case, the Court found no

 privilege because the defendant’s only argument was that he was an

 attorney. Id. at 365. The Court recognized that the publication was not a part

 of any case in a court, or of any other judicial proceeding. Id. However, when

 one is participating in a judicial proceeding, they should be free to express

 themselves without fear of retaliation, and the judicial proceedings privilege

 should be broadly construed. Couch v. Schultz, 193 Mich. App. 292, 295, 483

 N.W.2d 684, 686 (1992). Plaintiff’s complaint only alleges that the statement

 of Judge Brennan was made in her deposition.

       Plaintiff also claims in her response that describing the statements in

 the context of a deposition is sufficient for publication. However, she has

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 failed to address how Defendant has published the statement outside of the

 privileged deposition setting. Any publishing outside of the deposition

 setting was done either by Plaintiff or other third parties.

       Plaintiff states no authority against Defendant’s claim of governmental

 immunity. She merely cites to MCL 691.1407(5) and the legal conclusion that

 Defendant was not acting in the scope of her judicial authority. The Court

 should rely on Petipren v Jaskowski, 494 Mich 190; 833 N.W.2d 247 (2013) in

 finding that Defendant is entitled to governmental immunity because it was

 within her duty as a judge to protect the integrity of the court and comment

 as to criticisms of the court.


                                  CONCLUSION

       Defendant is entitled to judicial and governmental immunity for

 Plaintiff’s claims, and Plaintiff has failed to state a claim for defamation and

 First Amendment retaliation. Plaintiff’s cause of action should be dismissed

 pursuant to Fed. R. Civ. P. 12(b)(6).




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                                        Respectfully submitted,

                                        SEWARD HENDERSON PLLC

                                        /s/ T. Joseph Seward
                                        By: T. Joseph Seward (P35095)
                                        Attorneys for Defendant, Brennan
                                        210 East 3rd Street, Suite 212
                                        Royal Oak, Michigan 48067
                                        P: (248) 733-3580
                                        F: (248) 733-3633
                                        E: jseward@sewardhenderson.com


                        CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing and this
       Certificate of Service with the Clerk of the Court, using the
       Court’s E-filing system that will send notification to all counsel
       of record, on May 4, 2018.

                               /s/ Mallorie M. Blaylock
                               SEWARD HENDERSON PLLC
                               210 East 3rd Street, Suite 212
                               Royal Oak, Michigan 48067
                               P: (248) 733-3580
                               F: (248) 733-3633
                               E: paralegal@sewardhenderson.com




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